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EXHIBIT VVV
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Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.143 Page 4 of 18

Kathy Carlson

Western Forensic Document Examiner
P.O. Box 782, Montrose, CO 81402
Office: 970-240-5950 Cell: 970-275-6846
Utah: 801-230-0831 Fox: 801-665-8585
www.coloradohandwritingexpert.com
www,utahhandwritingexpert.com
email: kscarlson1954@gmail.com

Curriculum Vitae

Kathy Carlson, a Court Qualified, Certified Forensic Document Examiner, has studied
handwriting examination and apprenticed under some of the leading Court Qualified Experts.

Forensic Examination Provided For:

Disputed documents or signatures including: Contracts, Loans, Warranty Deeds, Quitclaim
Deeds, Real Estate Contracts, Deeds of Trust, Wills, Codicils, Holographic Wills, Beneficiaries,
Income Tax Fraud, Poison Pen Letters, Anonymous Writing, Divorce Disputes, and Graffiti.

Investigation and analysis including: Questioned Signatures, Suspect Documents (Typed and
Written), Suspect Alterations, Handwritten Numbers, and Indented Writing.

Education:

ITT Technical Institute — Denver, Colorado
Electronic Engineering
December 1989 — January 199]

Colorado Aero Tech — Broomfield, Colorado
Testing, repairing and installing of radios and electronic devices of all types in different makes

and models of aircraft.
August 1991 — November 1992

International School of Forensic Document Examination — Los Angeles, California

May 2009 — December 2010

A 2 year apprenticeship with leading authorities in the field of handwriting analysis and
document examination.

Training in handwriting and document examination includes:

Handwriting identification and discrimination, signature comparison, techniques for
distinguishing forged signatures, disguised handwriting, altered numbers, anonymous writing,
factors that affect writing.

Proficiency Testing:

Provided through International Schoo! of Forensic Document Examination included:
Ten test cases to work efficiently from start to finish without supervision.
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.144 Page 5 of 18

Forensic Conferences and Workshops:

National Association of Document Examiners (NADE)
Montreal, Canada
May 19—21, 2011

Association of Forensic Document Examiners (AFDE)
Louisville, KY
November 3 — 6, 2011

National Association of Forensic Document Examiners (NADE)
San Diego, CA
April 25 — 29, 2012

Continued Education:

Katherine Koppenhaver, Board Certified Forensic Document Examiner, Teacher and Mentor
One hour weekly classes on various subjects.
May 23, 2011 — present

Laboratory Equipment used for examinations include:

AmScope stereoscope with a digital camera attached .5 — 30X magnification, MiScope IR/UV
Microscope 40 — 140X magnification, numerous other magnifying devices, light box, various
measuring devices, HP Computer with a HP OfficeJet Pro copier, printer, scanner combination,
various art programs installed on my computer, and a digital camera.

Professional Memberships:

Member American College of Forensic Examiners Inc. (ACFEI)

Member American Society of Testing and Materials (ASTM)
(Serving on Sub-committee E30.02)

Member Colorado Society of Private Investigators (CSPI)

Library:

Numerous forensic document examination books and other handwriting reference materials.
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Forensic Documentation Fee Schedule

Kathy Carlson — Western Forensic Document Examiner

Initial Consultation - 1/2 hour.........-..-..5-4555- pina bus oi Bia No Charge
General Retainer Fee. .... 22... 2... eee $1200.00
Verbal Opinion (per questioned document or signature) ........... $395.00
Upgrade from Verbal to Written (already paid $395.00). . (per letter) $195.00
Written Opinion. ........ 0.0002 $590.00
Laboratory Examination Time (hourly)... 2... 000-2 e cece eee $150.00
Designation Fee. ........ .3 i geuewen ais ce wacawes oe SaeooewiO’ 2 $590.00
Attorney Consultation (hourly rate)... 0.2.02 60 eee eee $150.00

Deposition Time (4 hour block minimum) Must be paid in advance $600.00
Add $200.00 per hour thereafter + all travel expenses

Court Display Preparation (hourly) .... 22... 20sec ee eee eee $75.00

Court Appearance (per day). (must be paid in full upon scheduling)

($500 will be refunded upon cancellation or rescheduling of trial) $1,000.00
On-Site Inspection of Document (hourly, plus expenses)..........++ $200.00
Photography (plus cost of development). ..... 2.6... 00000 vere ees $100.00
Overnight Mail ($50 fee)... 2... ccc eee eee ee teenies $50.00
Postage/Delivery 2™ Day ($30 fee). ..... 0-000 0 cece eee eee ees $30.00
Postage/Delivery Fee Ground ($25). ...--. 20sec ener eee eee $25.00
Postage/Delivery Fee ($5)... 2.0... 06. eee eee cere $5.00
Travel:

Driving (hourly, plus $.50 per mile)... . 02-6... nee $50.00
Flying (hourly travel time, plus cost of tickel)..........5-+0.-005- $50.00
Lodging (per night or actual COSt)... 2... +00 cece cee eens $80.00
Meals (daily)... 0.6.0 $50.00

Any Rush Fee will be charged at 100% for weekends and holidays.
Any Rush Fee will be charged at 50% for regular work week.
Rush Fees are any case needed within 12-24 hours.

*We are not attorneys. We do not dispense legal advice. You should obtain legal ndvice from a suitable attorney.
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Kathy S. Carlson

Western Forensic Document Examiner
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www.caloradohandwritingexpert.com
www.utahhandwritingexpert.com
email: kscarlson!954@gmail.com

May 3, 2012
Raymond M. Snyder
P.O. Box 69

Aurora, UT 84620

Forensic Examination Requested:

On April 20, 2012 | was contacted by Raymond Max Snyder and asked to analyze a
four (4) page document to determine if any of the four pages of the document was of the
same original created date of late September 2001. According to Mr. Snyder the first
three pages had been altered, but page four (4) appeared to be genuine.

Questioned Documents:

Q1 Original — Page one of four PREMARITAL AGREEMENT signed by Raymond
Max Snyder, dated Oct 2, 2001 (page 4) and Laura Ann Lisk (Laura A Lisk),
dated Oct. 4, 2001 (page 4).

Q2 Original — Page two of four PREMARITAL AGREEMENT signed by Raymond
Max Snyder, dated Oct 2, 2001 (page 4) and Laura Ann Lisk (Laura A Lisk),
dated Oct. 4, 2001 (page 4).

Q3 Original — Page three of four PREMARITAL AGREEMENT signed by Raymond
Max Snyder, dated Oct 2, 2001 (page 4) and Laura Ann Lisk (Laura A Lisk),
dated Oct. 4, 2001 (page 4).

Known Documents:

K1 Original — Page four of four PREMARITAL AGREEMENT signed by Raymond
Max Snyder, dated Oct 2, 2001 and Laura Ann Lisk (Laura A Lisk), dated Oct. 4,
2001.

Examination results:

L. When examining K1, | have determined that the document is an original
document, bearing original signatures and notaries, that is to say this
document has not been duplicated or electronically copied. | also have
determined this document was printed with an ink jet printer.
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Il. When examining Q1, | have determined that this page is an original
document, that is to say this document has not been electronically copied,
also printed with an ink jet printer. | examined the document to determine
if the margins were offset in any way. The margins, spacing and font were
the same as page four (4), also printed with an ink jet. The paper is of the
same type, basic bonded paper with no color difference.

lll. © When examining Q2, | have determined that this page is an original
document, that is to say this document has not been electronically copied,
also printed with an ink jet printer. | examined the document to determine
if the margins were offset in any way. The margins, spacing and font were
the same as page four (4), also printed with an ink jet. The paper is of the
same type, basic bonded paper with no color difference.

IV. When examining Q3, | have determined that this page is an original
document, that is to say this document has not been electronically copied,
also printed with an ink jet printer. | examined the document to determine
if the margins were offset in any way. The margins, spacing and font were
the same as page four (4), also printed with an ink jet. The paper is of the
same type, basic bonded paper with no color difference.

Observation:

On the left side, three quarters of the way down on Q1, Q2 and Q3 there is two streaks
of smudging on each sheet that is not apparent on page four (4). | do not have an
opinion as to what caused the smudging.

More information requested:

| reported back to Mr. Snyder that there were very little differences in the documents
other than the smudging. | asked him if he had a copy of the original to compare
wording with. He did not. | asked him if he still had the computer he had created the
documents on. He did not. He said that he found the floppy disk it was saved on. |
requested to examine that disk.

Examination Results:

On May 1, 2012 | accessed the properties of the floppy disk and determined the
following:
1. General Tab; “Created: Sunday, March 09, 2003, 7:09:13 AM”
“Modified: Sunday, March 09, 2003, 7:09:18 AM”
“Accessed: May 01, 2012”

Please see Exhibit 3 for details.

Page 2
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.148 Page 9 of 18

ll. Details Tab; “Authors: Tammy”
“Revision number: 2”
“Company: Wendover Ambulance”
“Content created: 3/9/2003 9:09 AM”
“Date last saved: 3/9/2003 9:09 AM”
“Last printed: 9/29/2001 2:05 PM”
“Date created: 3/9/2003 7:09 AM”
“Date Modified: 3/9/2003 7:09 AM”

Please see Exhibit 4 and 5 for details.

Possible reasons for discrepancies as to why the floppy disk does not show a new print
date is; if an individual modifying the document prints before saving, the original print
date carries over from the first printed date. That is to say, the document was printed
before the “Save As” option was applied, which kept the previous print date. Please see
Exhibits 1 and 2 for further explanations.

Recommendation:

In order to find the actual changes made to this four (4) page document, it is my
recommendation for Mr. Snyder to retain a Computer Forensic Analyst to examine the
floppy disk.

Conclusion:

Based upon thorough analysis of these items, and from an application of accepted
forensic document tools, principles and techniques it is this experts opinion that some
portions of this four page document has been altered.

Basis of Opinion:

Handwriting identification is based on the principle that no two people write exactly the
same way, and the principle that no one person writes exactly the same way twice,
which is demonstrated through natural variation. Natural variation is a normal or usual
deviation that is repeated in each individual’s handwriting. Writing habits or individual
characteristics distinguish one person’s handwriting from another. The process of
handwriting identification is the careful and systematic use of evidence that is common
to most, if not all disciplines of forensic science is directed towards the identification of
something unknown. This process is commonly referred to as the Law of ACE: Analysis,
Comparison, and Evaluation. With these principles and procedures the evidence is
evaluated, a side-by-side comparison is conducted between questioned and known
standards and an opinion is rendered based upon scientific methods and principles.

Respectfully submitted,

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hy i S. Cad
Kathy S. Carlson
Forensic Document Examiner

Page 3
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.149 Page 10 of 18

PREMARITAL AGREEMENT

THIS PREMARITAL AGREEMENT is made and entered into by and between
Raymond Max Snyder and Lauara Ann Lisk, hereinafter refereed to individually as
“Max” and “Lauara”, respectively.

WITNESSETH:
WHEREAS, the parties expect to marry each other sometime in the next month:
and

WHEREAS, they have each acquired certain assets which they wish to retain as
their sole and separate property after their marriage, and to make other provisions related
to their marriage.

NOW, THEREFORE, in consideration of their mutual promises to marry and
other good and valuable consideration, the parties herein agree as follows:

1. All real and personal property, wherever situated, owned by Max shall be
deemed his sole and separate property. This separate property includes,
without limitation, all of Max’s right, title and interest in and to the property
set forth on the attached Exhibit “A”.

2. All real and personal property, wherever situated, owned by Lauara shall be
deemed her sole and separate property. This separate property includes,
without limitation, all of Lauara’s right, title and interest in and to the property
set forth on the attached Exhibit “B”.

J

Unless otherwise expressly and specifically provided by written instrument
signed by the respective separate property owner, all of the separate property
of the parties, together with all of the income, rents, issues, profits, dividends,
proceeds, appreciations, increases, and replacements, thereof, and all property
purchased therewith, together with any bank accounts established from any of
the forgoing, shall remain the sole and separate property of the parties
respectively throughout, and at the dissolution of, their marriage, even if
community efforts and labor of one or both parties contributes to the same.
(Example: assume Max owns a rental home at the time of the marriage. After
the marriage the rental remains in Max’s name alone. All rent is Max’s
separate property. If Max sells the rental, the sale proceeds are his separate
property and if he buys a duplex with the proceeds and takes title in his name
alone, the duplex remains his separate property even though acquired during
the marriage. If Max or Lauara use their own labor to improve or alter the
rental or duplex, the rental and duplex remain entirely Max’s separate

property).
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4. Unless otherwise expressly and specifically provided by written instrument

signed by the parties, all real and personal property acquired by the parties
during their marriage shall be their community property except:

A. Income, profits, rents, dividends, proceeds and replacements of the
parties’ respective separate property, or any property purchased
therewith.

B. Property acquired by a gift or inheritance: and

C. An award for personal injury damages.

. Unless otherwise expressly and. specifically provided by written instrument

signed by the parties at the time, if separate funds are contributed to, or used
for. the benefit of, a party’s respective separate property, the party not owning
that item of separate property shall, at separation or dissolution of the
marriage, or the death of the separate property owner, be entitled to the nght
of reimbursement of those separate funds contributed, without interest.

. Unless otherwise expressly and specifically provided by wnmitten instrument

signed by the parties at the time, if separate funds are contributed to, or used
for the benefit of, community property or to pay a community debt, the same
will be conclusively deemed to be a gift to the marital community and the
owner of the separate funds will not be entitled to any reimbursement.

. Unless otherwise expressly and specifically provided by written instrument

signed by the parties at the time, if community funds, or the separate funds of
one spouse, are used to pay a separate debt of the other spouse, the same will
be conclusively deemed to be a gift to the spouse owing the separate debt and
the other spouse will not be entitled to reimbursement.

. Unless otherwise expressly and specifically provided by written instrument

signed by the parties at the time, if either party allows the other party to be
added to the title of an item of separate property, or its proceeds or
replacement, in the event of separation or dissolution of the marriage, that
asset will be conclusively deemed to remain the sole and separate property of
the separate owner and not be transmuted into community property, or a joint
tenancy: provided, however, that, in the event of the death of one of the
parties, such asset will be conclusively deemed to be community property,
tenancy in common or joint tenancy property, as the case may be.
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.151 Page 12 of 18

9.

10.

11.

13.

14.

Unless otherwise expressly and specifically provided by written instrument
signed by the parties at the time, if either party commingles separate funds
with community or joint funds, or with the separate funds of the other party:
(A) in the event of the death of one of the parties, the separate funds will
conclusively lost its separate character even if it may be accurately traced: but
(B) in the event of separation or dissolution of the marriage, each party shall
receive his and her respective share to the extent that the sources of the
contributions can be traced.

The mere fact that either party may join with the owner of any item of
separate property in a contract, conveyance, deed of trust, encumbrance,
mortgage, note or other instrument, shall be conclusively deemed to be an
accommodation to the owner and not considered as an implied modification of
this Agreement.

Each party will indemnify, and hold the other party harmless from, any and
all debts incurred by such party prior to the marriage and any debts incurred
after the marriage for the benefit of; or secured by, the party’s separate

property.

. Each party does hereby renounce any and all nghts of inheritance from the

other party, including, without limitation, the right to inherit any portion of the
separate property of the other party by intestate succession, provided,
however, that this renunciation does not apply to, or affect, any inheritances or
transfers:

A. by virtue of the probate of a Will:

B. by termination of a right or survivorship: or

C. by an inheritance of community property by intestate succession: or

D. by devise pursuant to a trust.
This Agreement will be governed by the law of the State of Nevada, and in
particular the Nevada Uniform Premarital Agreement Act, Chapter 123A of
the Nevada Revised Statutes, as amended or by the State laws of the state both

reside in at the time of separation or divorce.

This Agreement may be amended or revoked only by a written agreement
signed by the parties.

.Each party executes this Agreement voluntarily, without coercion, threat,

fraud or promise other than contained in this Agreement, and requests any
court to enforce it as an intended, fair, and equitable Agreement.
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16. Each party voluntarily and expressly waives all right of disclosure of property
or financial obligations of the other party beyond his or her current knowledge
of such property or financial obligations. The parties do not know the identify
or value of all of each other’s separate property and they do not need or want
an itemized disclosure.

17. This Agreement is conditioned upon the solemnization of a marriage between
the parties and will be effective at that time.

18. This Agreement shall be binding upon and inure to the benefit of the parties
hereto and their respective heirs, personal representatives, successors and

assigns.

19. The Example in this Agreement is fictional and is intended to be an
illustration of the principles and effect of this Agreement only. The Example
is not based on the factual circumstances or assets of the parties.

IN WITNESS WHEREOF, the said parties have hereunto set their hands of the
day and year first here in below written.

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COUNTY OF .Qgp-( A
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This instrument was acknowledged before me on the day of
, 2001, by Raymond Max Snyder.

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NOTARY PUBLIC

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MITZI CRANE
155 Went Main
Salina, Utah 84654

My Commission Expires
January 27, 2003

STATE OF UTAH

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DATED: ( h¢ ky , 2001 :

STATE OF Newadts
COUNTY OF eLeaD

This instrument was acknowledged before me on the 4 day

of Wt , 2001, by Lauara Ann Lisk.

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ware of Nevada
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me appointmes’ ow ies January 4, 2003.

94-2303-6

Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.153 Page 14 of 18

Information researched regarding Properties on Floppy Disk

Hidden data and personal information from Office documents

http://office.microsoft.com/en-us/help/remove-hidden-data-and-personal-
information-from-office-documents-HA010037593.aspx

Several types of hidden data and personal information can be saved in an Office
document. This information might not be immediately visible when you view the
document in an Office program, but it might be possible for other people to view or
retrieve the information.

Hidden information can include the data that Office programs add to a file to enable
you to collaborate on writing and editing a document with other people. It can also
include information that you deliberately designate as hidden.

Office documents can contain the following types of hidden data and personal
information:

Document properties and personal information Document properties, also known
as metadata, include details about your document such as author, subject, and title.
Document properties also include information that is automatically maintained by Office
programs, such as the name of the person who most recently saved a document and
the date when a document was created. If you used specific features, your document
might also contain additional kinds of personally identifiable information (P11), such as e-
mail headers, send-for-review information, routing slips, printer paths, and file path
information for publishing Web pages.

Kathy Carlson
Forensic Document Examiner

Exhibit 1
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23 PagelD.154 Page 15 of 18

Information researched regarding “Created”, “Modified” and “Printed” differences

The "Created" date and time of a document that you view in the Statistics
tab differ from the "Created" date and time that you view in the General tab
in Word

http://support.microsoft,com/kb/922119

How can the "Printed" date be a date that is earlier than the "Created" date in the
Statistics tab?

A document that was printed may be copied or re-saved to another location.
Additionally, a document that was printed may be overwritten in the same location as
the parent (original) document. In these cases, the newly copied or overwritten
document has a more current "Created" date than the "Printed" date. The original
"Printed" date carries over to the newly copied or overwritten document.

How can a "Created" date from the Statistics tab be stamped with a date that is
earlier than the "Created" date that is listed in the General tab?

The "Created" date and time in the Statistics tab does not change unless the document
is copied or unless someone performs a "Save As" operation on the File menu.

How can a "Created" date from the General tab be stamped with a date that ts
later than the "Modified" date that is listed in the General tab?

When the document is copied or is saved to a new location, a new file is created. This
file is generated by a parent file that has the earlier "Modified" date. This parent file
also has an earlier “Created” date.

When you copy or re-save a document, the "Created" date is updated in the Statistics
tab and in the General tab. However, the "Modified" date is not updated.

Kathy Carlson
Forensic Document Examiner

Exhibit 2
Case 4:23-cv-00056-DN Document 13-3 Filed 07/27/23

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Date Kathy Carlson
accessed information
authorized by
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Kathy Carlson
Forensic Document Examiner

Exhibit 3

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